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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION
UNITED STATES OF AMERICA

       VS                                                      CASE NO. 3:04cr75/RV

DAWN N. ZUCCO

                                  REFERRAL AND ORDER

Referred to Senior Judge Roger Vinson on October 4, 2006
Motion/Pleadings: MOTION for Early Termination of Probation for DAWN N ZUCCO (2)
Counts 2, 3
Filed by Defendant                       on 09/02/2006       Doc.#   79
RESPONSES:
  United States                          on 09/03/2006       Doc.#    78
                                         on                  Doc.#
        Stipulated           Joint Pldg.
        Unopposed            Consented
                                         WILLIAM M. McCOOL, CLERK OF COURT

                                            s/Jerry Marbut
LC (1 OR 2)                               Deputy Clerk: Jerry Marbut

                                        ORDER
Upon   consideration   of   the    foregoing,   it   is   ORDERED   this        19th     day   of
  October              , 2006, that:
(a) The relief requested is DENIED.
(b)




                                           /s/ Roger Vinson
                                                          ROGER VINSON
                                              Senior United States District Judge
